Case 2:16-cr-20439-MFL-DRG ECF No. 18 filed 12/14/17      PageID.118   Page 1 of 6



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                   Plaintiff,               No. 16-CR-20439
-vs-
                                            Hon. Matthew F. Leitman

D-1    CYNTHIA FLOWERS,

               Defendant.
________________________________/

 GOVERNMENT’S RESPONSE TO DEFENDANT CYNTHIA FLOWERS’
  MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE

       The United States of America hereby responds to defendant Cynthia

Flowers’ Motion for Early Termination of Supervised Release and states that, for

the reasons explained in the accompanying brief, the government does not oppose
Case 2:16-cr-20439-MFL-DRG ECF No. 18 filed 12/14/17   PageID.119    Page 2 of 6



the motion.



                                          Respectfully submitted,

                                          DANIEL L. LEMISCH
                                          Acting United States Attorney

                                          s/Stephen L. Hiyama
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Date: December 14, 2017                   bar no.: P32236




                                    -2-
Case 2:16-cr-20439-MFL-DRG ECF No. 18 filed 12/14/17        PageID.120    Page 3 of 6



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                   Plaintiff,                   No. 16-CR-20439
-vs-
                                                Hon. Matthew F. Leitman

D-1    CYNTHIA FLOWERS,

               Defendant.
________________________________/

           BRIEF IN SUPPORT OF GOVERNMENT’S
       RESPONSE TO DEFENDANT CYNTHIA FLOWERS’
  MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE

       On November 15, 2016, this Court sentenced defendant Cynthia Flowers to

24 months’ probation and fined her $7,500. She now asks this Court to order an

early termination of her term of supervision.

       The government believes that the representations in defendant’s motion are

accurate. Defense counsel has also related that defendant has paid her $7,500

fine. Given defendant’s positive and cooperative conduct throughout these

proceedings and her current circumstances, there appears to be little need for the

U.S. Probation Office to supervise defendant for another year. (The government

may reconsider its position if, for reasons now unknown to the government, the

probation officer opposes defendant’s motion.)
Case 2:16-cr-20439-MFL-DRG ECF No. 18 filed 12/14/17          PageID.121     Page 4 of 6



      The supervision in question is probation, not supervised release, as

defendant’s motion mistakenly asserts. But the relevant probation statute, 18

U.S.C. § 3564(c), is basically the same as the supervised release statute quoted by

defendant on page 2 of her motion, 18 U.S.C. § 3583(e)(1). Section 3564(c)

provides:

      § 3564    Running of a term of probation
            .     .     .      .

             (c) Early Termination. – The court, after considering the
      factors set forth in section 3553(a) to the extent that they are
      applicable, may, pursuant to the provisions of the Federal Rules of
      Criminal Procedure relating to the modification of probation,
      terminate a term of probation previously ordered and discharge the
      defendant . . . at any time after the expiration of one year of probation
      in the case of a felony, if it is satisfied that such action is warranted by
      the conduct of the defendant and the interest of justice.

18 U.S.C. § 3564(c).

      Rule 32.1 of the Federal Rules of Criminal Procedure, captioned “Revoking

or Modifying Probation or Supervised Release,” provides in relevant part:

             (c) Modification.

             (1) In General. Before modifying the conditions of probation
             or supervised release, the court must hold a hearing, at which
             the person has the right to counsel and an opportunity to make a
             statement and present any information in mitigation.

             (2) Exceptions. A hearing is not required if:

                   (A) the person waives the hearing; or


                                         -2-
Case 2:16-cr-20439-MFL-DRG ECF No. 18 filed 12/14/17       PageID.122    Page 5 of 6



                   (B) the relief sought is favorable to the person and does
                   not extend the term of probation or of supervised release;
                   and

                   (C) an attorney for the government has received notice
                   of the relief sought, has had a reasonable opportunity to
                   object, and has not done so.

Fed. R. Crim. P. 32.1(c).

      In sum, the government does not oppose the early termination of

defendant’s term of probation.


                                             Respectfully submitted,

                                             DANIEL L. LEMISCH
                                             Acting United States Attorney

                                             s/Stephen L. Hiyama
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                                       -3-
Case 2:16-cr-20439-MFL-DRG ECF No. 18 filed 12/14/17        PageID.123    Page 6 of 6



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                    Plaintiff,                No. 16-CR-20439
-vs-
                                              Hon. Matthew F. Leitman

D-1    CYNTHIA FLOWERS,

               Defendant.
________________________________/

                          CERTIFICATE OF SERVICE

       I certify that I electronically filed today the Government’s Response to

Defendant Cynthia Flowers’ Motion for Early Termination of Supervised Release

by using the ECF system, which will send notification of such filing to the

following ECF participant(s): Allison Folmar




                                              s/Stephen L. Hiyama
                                              STEPHEN L. HIYAMA
Date: December 14, 2017                       Assistant United States Attorney
